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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                       :      CASE NO. 22-52950-PMB
                                              :
 ATLANTA LIGHT BULBS, INC.,                   :      CHAPTER 7
                                              :
                Debtor.                       :      JUDGE BAISIER

            MOTION TO SET BAR DATE FOR GAP CLAIMS AND CHAPTER 11
                       ADMINISTRATIVE EXPENSE CLAIMS
        COME NOW S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the bankruptcy

 estate (the “Estate”) of Atlanta Light Bulbs, Inc., Debtor (the “Debtor”) in the above captioned

 case (the “Case”), by and through counsel, and hereby files this Motion to Set Bar Date for Gap

 Claims and Chapter 11 Administrative Expense Claims (the “Motion”) to request the entry of an

 order establishing a bar date for the filing of a request for allowance and payment of Gap Claims

 (as defined herein)1 under 11 U.S.C. § 502(f) and administrative expense claims (the “Chapter 11

 Administrative Claims”) as defined in 11 U.S.C. § 503, including under 11 U.S.C. § 503(b)(9),

 arising in the Chapter 11 Case of the Debtor other than with regard to requests by the Chapter 11

 Trustee or by any professionals employed by the Chapter 11 Trustee or any person or entity who

 has previously filed a request for the allowance or payment of all Gap Claims and Chapter 11

 Administrative Claims. In support of this Motion, the Trustee respectfully represents as follows:

                                        JURISDICTION




        1
          As set forth in Paragraph 17 below, “Gap Claims” are claims arising in the ordinary
        course of the Debtor’s business or financial affairs on or after April 15, 2022, the date of
        the involuntary petition, through May 22, 2022, the day before the entry of the order of
        relief. The gap period is April 15, 2022, through May 22, 2022 (the “Gap Period”). The
        Chapter 11 Administrative Claims period commenced on May 23, 2022.
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        1.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

 1334. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409. This matter is a core

 proceeding pursuant to 28 U.S.C. § 157(b).

        2.      The statutory and legal predicates for the relief sought herein are sections 105,

 502(f), 503, and 507 of title 11 of the United States Code (the “Bankruptcy Code”) and the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                         BACKGROUND

        3.      On April 15, 2022, Halco Lighting Technologies, LLC, Norcross Electric Supply

 Company and Candela Corporation filed an involuntary petition for relief under Chapter 11 of

 Title 11 of the United States Code against the Debtor in the United States Bankruptcy Court for

 the Northern District of Georgia (the “Court”).

        4.      On May 23, 2022, the Court entered an Order for Relief under Chapter 11 of the

 Bankruptcy Code [Doc. No. 21].

        5.      On June 15, 2022, the Court entered an order [Doc. No. 58] directing the

 appointment of a Chapter 11 Trustee on behalf of Debtor.

        6.      On June 17, 2022, the Court entered an order [Doc. No. 68] approving the Trustee

 as Chapter 11 Trustee for Debtor.

        7.      On July 7, 2022, the Court entered an order [Doc. No. 109] converting the

 Bankruptcy Case to Chapter 7 and directing the United States Trustee to appoint an interim Chapter

 7 Trustee in the Bankruptcy Case.

        8.      The Chapter 11 Case herein lasted from May 23, 2022 to and through July 7, 2022.

        9.      On July 7, 2022, the United States Trustee appointed S. Gregory Hays as the interim

 Trustee of the Debtor.




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        10.     The Trustee is in the process of recovering and liquidating the remaining assets of

 the Debtor and is aware that the Debtor may have incurred Gap Claims and administrative

 expenses during the Chapter 11 Case. In the interest of having the most complete information

 possible, the Trustee believes that fixing a bar date for Gap Claims and Chapter 11 Administrative

 Claims from the Chapter 11 Case is in the best interests of the Estate.

                                     RELIEF REQUESTED

        11.     By this Motion, the Trustee respectfully requests the entry of an order—

 substantially in the form as the proposed Bar Order attached as Exhibit A hereto—pursuant to 11

 U.S.C. §§ 105(a), 502(f), 503, and 507 establishing September 16, 2022 (the “Chapter 11 Gap

 and Administrative Claims Bar Date”), or such other date as the Court deems appropriate, as

 the last day by which all entities, except only for the Chapter 11 Trustee, any professionals

 employed by the Chapter 11 Trustee or any person or entity who has previously filed a request for

 the allowance or payment of all Gap Claims and Chapter 11 Administrative Claims, must file a

 request for allowance and payment of any Gap Claims pursuant to 11 U.S.C. § 502(f) or Chapter

 11 Administrative Claims pursuant to 11 U.S.C. § 503 arising or occurring in or during the Chapter

 11 Case.

        12.     The Trustee also requests that the Court direct all holders of Gap Claims or Chapter

 11 Administrative Claims, other than the Chapter 11 Trustee, any professionals employed by the

 Chapter 11Trustee, or any person or entity who has previously filed a request for the allowance or

 payment of all Gap Claims or a Chapter 11 Administrative Claims, to file requests for payment of

 such claims, including proper supporting documentation, with the Office of the Clerk at the U. S.

 Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, SW, Atlanta Georgia 30303, and upon the




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 undersigned counsel for the Trustee on or before the Chapter 11 Gap and Administrative Claims

 Bar Date.

        13.     The Trustee requests that any party: a) required to file by the Chapter 11 Gap and

 Administrative Claims Bar Date a request for allowance and payment of any Gap Claims or

 Chapter 11 Administrative Claims in the Chapter 11 Case that fails to file such a request on or

 before the Chapter 11 Gap and Administrative Claims Bar Date; or b) that files, or has already

 filed, a proof of claim that includes an assertion of entitlement to any Gap Claims or Administrative

 Claims and fails to file a separate request for payment of such Gap Claims or Chapter 11

 Administrative Claims on or before the Chapter 11 Gap and Administrative Claims Bar Date, be

 barred, estopped, and enjoined from asserting such Gap Claims and Chapter 11 Administrative

 Claims against the Estate of the Debtor and the Estate of the Debtor shall be forever discharged

 from any and all indebtedness, liability, or obligation with respect to such claim.

                                        BASIS FOR RELIEF

        14.     In an involuntary case, gap claims arise “in the ordinary course of the debtor’s

 business or financial affairs after the commencement of the case but before the earlier of the

 appointment of a trustee and the order for relief shall be determined as of the date such claim arises,

 and shall be allowed under subsection (a), (b), or (c) . . . or disallowed under subsection (d) or (e)

 . . ., the same as if such claim had arisen before the date of the filing of the petition.” See 11

 U.S.C.A. § 502(f).

        15.     “Since the estate does not pass to the trustee’s hand during this interim period

 [between the date of the petition and the order of relief], no administrative expenses can begin to

 accrue. Such gap claims, if allowed, are entitled to treatment as if they were claims which had




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 arisen before the filing of the petition.” In re Mfr.’s Supply Co., 132 B.R. 127, 129 (Bankr. N.D.

 Ohio 1991).

        16.     Section 507(a)(3) of the Bankruptcy Code affords third priority to unsecured gap

 claims allowed under 11 U.S.C. § 502(f).

        17.     In this case, “Gap Claims” are claims arising in the ordinary course of the Debtor’s

 business or financial affairs on or after April 15, 2022, the date of the involuntary petition, through

 May 22, 2022, the day before the entry of the order of relief. The gap period is April 15, 2022,

 through May 22, 2022 (the “Gap Period”). The Chapter 11 Administrative Claims period

 commenced on May 23, 2022.

        18.     No bar date for the filing of Gap Claims or Chapter 11 Administrative Claims has

 been set in the Chapter 11 Case. The facts of the Case justify setting a bar date for Gap Claims and

 Chapter 11 Administrative Claims since the Debtor is no longer operating and the Trustee is aware

 that the Estate may have incurred Gap Claims and Chapter 11 Administrative Claims during the

 Chapter 11 Case. The establishment of the Chapter 11 Gap and Administrative Claims Bar Date

 will assist in: a) winding down the Estate of the Debtor; b) determining the appropriate treatment

 of various creditors; c) determining the precise nature, extent, and scope of Gap Claims or Chapter

 11 Administrative Claims asserted against the Estate; d) estimating the number and amount of Gap

 Claims or Chapter 11 Administrative Claims; and e) otherwise facilitating the administration of

 the Estate as Gap Claims or Chapter 11 Administrative Claims would need to be addressed to

 conclude the Case.

        19.     The establishment of September 16, 2022, as the Chapter 11 Gap and Administrative

 Claims Bar Date will enable the Trustee to receive, process, and analyze Gap Claims and Chapter

 11 Administrative Claims in a timely and efficient manner. The proposed Chapter 11 Gap and




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 Administrative Claims Bar Date will give creditors approximately 45 days to prepare and file

 requests for allowance of Gap Claims and Chapter 11 Administrative Claims.

        20.     For the ease of creditors who may not have engaged counsel in the Case, the Trustee

 requests that: a) the Court approve the Chapter 11 Administrative Claim Form (the

 “Administrative Claim Form”) attached as Exhibit B hereto and Gap Claim Form (the “Gap

 Claim Form”) attached as Exhibit C hereto; and b) the Trustee be authorized to serve a copy of

 the Administrative Claim Form and Gap Claim Form (collectively, the “Claim Forms”) along

 with the Bar Order to the known holders of Gap Claims or Chapter 11 Administrative Claims in

 the Chapter 11 Case and all other creditors and parties in interest who might assert Gap Claims or

 Chapter 11 Administrative Claims. The Claim Forms provide holders of Chapter 11

 Administrative Claims with information necessary to submit their claims in the Case and will

 provide the Trustee with information to process said claims. The Claim Forms provide that

 claimants will file their claims with the Clerk of the Court.

        21.     The Trustee reserves the right to: a) dispute any Gap Claims or Chapter 11

 Administrative Claims for any reason; or b) assert offsets or defenses as to the nature, amount,

 liability, classification, or otherwise against any Gap Claims or Chapter 11 Administrative Claims

 that may be filed in the Case.

                            NOTICE AND SERVICE PROCEDURES

        22.     Notice of this Motion has been provided to the following parties, or in lieu thereof,

 to their counsel: a) the Office of the United States Trustee for the Northern District of Georgia;

 and b) parties requesting notice pursuant to Bankruptcy Rule 2002. In light of the nature of the

 relief requested, the Trustee submits that such notice is sufficient and that no further notice is

 necessary.




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        23.     The requested service and notice procedures would preserve funds for the Estate,

 specifically with regard to minimizing the costs of mailing the Claim Forms to a substantial

 number of potential claimants.

        WHEREFORE, the Trustee respectfully request the entry of an Order: (a) granting this

 Motion; (b) establishing a Chapter 11 Gap and Administrative Claims Bar Date of September 16,

 2022, or such other date as the Court deems appropriate, for any claims, other than by the Chapter

 11 Trustee, any professionals employed by the Chapter 11 Trustee or any entity whose Gap

 Claims or Chapter 11 Administrative Claims has been previously allowed by a final order of the

 Court, as the deadline by which Gap Claims and Chapter 11 Administrative Claims must be

 filed; (c) approving the Claim Forms and the noticing procedures of the Trustee; and (d) granting

 such other and further relief as may be just and proper.

        Dated: July 27, 2022.

                                       Respectfully submitted,

                                       LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                       /s/ Henry F. Sewell, Jr.
                                       Henry F. Sewell, Jr.
                                       Georgia Bar No. 636265
                                       Buckhead Centre
                                       2964 Peachtree Road NW, Suite 555
                                       Atlanta, GA 30305
                                       (404) 926-0053
                                       hsewell@sewellfirm.com

                                       COUNSEL FOR THE CHAPTER 7 TRUSTEE




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                                          EXHIBIT A

                                        Proposed Order




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                      :       CASE NO. 22-52950-PMB
                                             :
 ATLANTA LIGHT BULBS, INC.,                  :       CHAPTER 7
                                             :
               Debtor.                       :       JUDGE BAISIER

                          ORDER AND NOTICE
      ESTABLISHING BAR DATE FIXING TIME FOR FILING GAP CLAIMS AND
              CHAPTER 11 ADMINISTRATIVE EXPENSE CLAIMS

        S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate (the

 “Estate”) of Atlanta Light Bulbs, Inc., Debtor (the “Debtor”) in the above captioned case (the

 “Case”) has filed a Motion to Set Bar Date for Gap Claims and Chapter 11 Administrative Expense

 Claims [Doc. No. ___] (the “Motion”). In the Motion, the Trustee requests the entry of an order

 establishing a bar date for the filing of a request for allowance and payment of Gap Claims under

 11 U.S.C. § 502(f) or administrative expenses claims (“Chapter 11 Administrative Claims”) as

 defined in 11 U.S.C. § 503, including under 11 U.S.C. § 503(b)(9), arising during the Chapter 11

 Case herein. “Gap Claims” are claims arising in the ordinary course of the Debtor’s business or
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 financial affairs on or after April 15, 2022, the date of the involuntary petition, through May 22,

 2022, the day before the entry of the order of relief. Upon review of same, it is

        ORDERED that the Motion be, and the same hereby is, GRANTED as follows, and it is

        ORDERED, Gap Claims are claims arising in the ordinary course of the Debtor’s

 business or financial affairs on or after April 15, 2022, the date of the involuntary petition,

 through May 22, 2022, the day before the entry of the order of relief.

        ORDERED, that Chapter 11 Administrative Claims are claims arising on or after

 May 23, 2022, the date of the involuntary petition, through July 6, 2022, the date prior to the

 date of conversion of this case to a Chapter 7 Case.

        ORDERED AND NOTICE IS HEREBY GIVEN that, other than the Chapter 11 Trustee,

 professionals of the Chapter 11 Trustee, or any person or entity who has previously filed a request

 for the allowance or payment of Gap Claims or Chapter 11 Administrative Claims, each creditor

 and party-in-interest who has or asserts any Gap Claims under 11 U.S.C. § 502(f) or Chapter 11

 Administrative Claims against the Debtor pursuant to 11 U.S.C. § 503, including under 11 U.S.C.

 503(b)(9), arising from the Chapter 11 Case herein SHALL FILE A REQUEST FOR

 ALLOWANCE OF SUCH CLAIMS WITH:

                               Clerk, United States Bankruptcy Court
                               Room 1340, Russell Federal Building
                                   and United States Courthouse
                                      75 Ted Turner Drive, SW
                                       Atlanta, Georgia 30303

        on or before September 16, 2022 (the “Chapter 11 Gap and Administrative Claims Bar

 Date”). A copy of the completed request should also be mailed to counsel for the Trustee at the

 following address: Law Offices of Henry F. Sewell, Jr., LLC, c/o Henry F. Sewell, Jr., Esq.,

 Buckhead Centre, 2964 Peachtree Road NW, Suite 555, Atlanta, GA 30305; it is further
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        ORDERED AND NOTICE IS HEREBY GIVEN that all requests for allowance of Gap

 Claims or Chapter 11 Administrative Claims addressed by this Order must be filed no later than

 the Chapter 11 Gap and Administrative Claims Bar Date of September 16, 2022. The Chapter

 11 Gap and Administrative Claims Bar Date is the last day for a claimant, other than the Chapter

 11 Trustee, any professionals of the Chapter 11 Trustee or any person or entity who has previously

 filed a request for the allowance or payment of all Gap Claims and Chapter 11 Administrative

 Claims to file a request for allowance of any Gap Claims under 11 U.S.C. § 502(f) or Chapter 11

 Administrative Claims against the Estate or the Debtor under 11 U.S.C. § 503. To assert any Gap

 Claims or Chapter 11 Administrative Claims in the Case, claimants may use, as applicable, the

 Chapter 11 Administrative Claim Form attached as Exhibit B to the Motion (the “Administrative

 Claim Form”) or the Gap Claim Form attached as Exhibit C to the Motion (the “Gap Claim

 Form” and collectively, the “Claim Forms”). The Claim Forms are approved; and it is

        ORDERED AND NOTICE IS HEREBY GIVEN THAT ANY CLAIMANT, OTHER

 THAN THE CHAPTER 11 TRUSTEE, ANY PROFESSIONALS OF THE CHAPTER 11

 TRUSTEE, OR         ANY PERSON OR ENTITY WHO HAS PREVIOUSLY FILED A

 REQUEST FOR THE ALLOWANCE OR PAYMENT OF ALL GAP CLAIMS AND

 CHAPTER 11 ADMINISTRATIVE CLAIMS WHO DOES NOT FILE A REQUEST FOR

 ALLOWANCE OF ITS GAP CLAIMS AND CHAPTER 11 ADMINISTRATIVE CLAIMS BY

 THE CHAPTER 11 GAP AND ADMINISTRATIVE CLAIMS BAR DATE MAY BE

 FOREVER BARRED FROM ANY RECOVERY FOR ANY SUCH GAP CLAIMS AND

 CHAPTER 11 ADMINISTRATIVE CLAIMS; and it is

        ORDERED AND NOTICE IS HEREBY GIVEN that Counsel for the Trustee is directed

 to serve a copy of this Order and the Claim Forms on all known holders of Gap Claims or Chapter
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 11 Administrative Claims in the Chapter 11 Case and all other creditors and parties in interest who

 might assert Gap Claims or Chapter 11 Administrative Claims against the Debtor, and on those

 parties in interest listed on the matrix of creditors in the Case.

                                      *** END OF ORDER ***



 Prepared and Presented By:
 LAW OFFICES OF HENRY F. SEWELL JR., LLC

 By: /s/ Henry F. Sewell, Jr.
 Henry F. Sewell, Jr.
 Georgia Bar No. 636265
 Law Offices of Henry F. Sewell, Jr., LLC
 2964 Peachtree Road NW, Suite 555
 Atlanta, GA 30305
 (404) 926-0053
 hsewell@sewellfirm.com
 Counsel for the Chapter 7 Trustee
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                                  EXHIBIT B
                      Chapter 11 Administrative Claim Form
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                       :       CASE NO. 22-52950-PMB
                                              :
 ATLANTA LIGHT BULBS, INC.,                   :       CHAPTER 7
                                              :
                Debtor.                       :       JUDGE BAISIER

          REQUEST FOR ALLOWANCE AND PAYMENT OF ADMINISTRATIVE
                  EXPENSE CLAIM PURSUANT TO 11 U.S.C. § 503

         COMES NOW the claimant identified below and hereby requests the allowance of an
 administrative expense claim pursuant to Section 503 of the Bankruptcy Code, and hereby shows
 the following:

 Name of Claimant:        ___________________________________________________________

 Address of Claimant: ___________________________________________________________
                      ___________________________________________________________
                      ___________________________________________________________

 Phone: _________________                     Email: ___________________________________

 Amount of 11 U.S.C. § 503 Administrative Expense: $________________
         1.    The undersigned holds an administrative expense claim arising on or after May
 23, 2022, through June 6, 2022, pursuant to 11 U.S.C. § 503 in the amount identified above
 against          the          Debtor           in         the          Chapter           11
 Case:_________________________________________________________________________

         2.     The consideration for this debt (or ground for this liability) owed by the Debtor is
 as follows: _____________________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________


        3.     The administrative expense is entitled to administrative priority under 11 U.S.C. §
 503(b) and 11 U.S.C. § 507(a)(2) because:____________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________
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         4.       A copy of the writing (invoice, purchase order, lease agreement, etc.) on which the
 administrative expense is founded, if any, is attached hereto or cannot be attached for the reason
 set forth in the statement attached hereto.

        5.      The amount of all payments on the administrative expense have been credited and
 deducted for the purpose of making this request.

        6.     The undersigned is aware that under 18 U.S.C. §§ 152 and 3571, the penalty for
 presenting a fraudulent claim in a bankruptcy case includes a fine of up to $500,000 or
 imprisonment for up to five years, or both.

        WHEREFORE, the undersigned requests that the Court allow the administrative expense
 or expenses requested herein, to be paid in accordance with the priorities set forth in the
 Bankruptcy Code and based upon availability of funds.

      YOU ARE ENCOURAGED TO CONSULT YOUR ATTORNEY REGARDING
 THE LAW, YOUR LEGAL RIGHTS, THE MEANING OF TERMS USED IN THE
 BANKRUPTCY CODE, THIS REQUEST FORM AND THE CHAPTER 11 GAP AND
 ADMINISTRATIVE CLAIMS BAR DATE NOTICE.

   Dated: ____________________

                                         Name of Claimant:


                                          Signed:


                                          By (if appropriate):


                                          As Its (if appropriate):


 INSTRUCTIONS: Mail the completed form to: Clerk, United States Bankruptcy Court, Room
 1340, Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, SW, Atlanta,
 Georgia 30303, so as to be received no later than September 16, 2022. A copy of the completed
 form should also be mailed to counsel for the Trustee at: Law Offices of Henry F. Sewell, Jr., LLC,
 c/o Henry F. Sewell, Jr., Esq., Buckhead Centre, 2964 Peachtree Road NW, Suite 555, Atlanta,
 GA 30305.
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                                  EXHIBIT C
                                Gap Claim Form
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE:                                        :      CASE NO. 22-52950-PMB
                                               :
 ATLANTA LIGHT BULBS, INC.,                    :      CHAPTER 7
                                               :
                Debtor.                        :      JUDGE BAISIER

             REQUEST FOR ALLOWANCE AND PAYMENT OF GAP CLAIM
                         PURSUANT TO 11 U.S.C. § 502(f)

         COMES NOW the claimant identified below and hereby requests the allowance of a
 gap claim pursuant to Section 502(f) of the Bankruptcy Code, and hereby shows the following:

 Name of Claimant:        ___________________________________________________________

 Address of Claimant: ___________________________________________________________
                      ___________________________________________________________
                      ___________________________________________________________

 Phone: _________________                      Email: ___________________________________

 Amount of 11 U.S.C. § 502(f) Gap Claim: $________________

        1.     The undersigned holds an “Gap Claim” arising in the ordinary course of the
 debtor's business or financial affairs on or after April 15, 2022, through May 22, 2022,
 pursuant to 11 U.S.C. § 502(f) in the amount identified above against the Debtor in the
 Chapter 11 Case:     ___________________________________________________________

         2.     The consideration for this debt (or ground for this liability) owed by the Debtor is
 as follows: _____________________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________


        3.     The Gap Claim is entitled to priority under 11 U.S.C. § 502(f) and 11 U.S.C. §
 507(a)(3) because:_______________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________
 ______________________________________________________________________________
         4.       A copy of the writing (invoice, purchase order, lease agreement, etc.) on which the
 administrative expense is founded, if any, is attached hereto or cannot be attached for the reason
 set forth in the statement attached hereto.
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        5.      The amount of all payments on the gap claim have been credited and deducted for
 the purpose of making this request.

        6.     The undersigned is aware that under 18 U.S.C. §§ 152 and 3571, the penalty for
 presenting a fraudulent claim in a bankruptcy case includes a fine of up to $500,000 or
 imprisonment for up to five years, or both.

         WHEREFORE, the undersigned requests that the Court allow the gap claim requested
 herein, to be paid in accordance with the priorities set forth in the Bankruptcy Code and based
 upon availability of funds.

      YOU ARE ENCOURAGED TO CONSULT YOUR ATTORNEY REGARDING
 THE LAW, YOUR LEGAL RIGHTS, THE MEANING OF TERMS USED IN THE
 BANKRUPTCY CODE, THIS REQUEST FORM AND THE CHAPTER 11 GAP AND
 ADMINISTRATIVE CLAIMS BAR DATE NOTICE.

   Dated: ____________________

                                         Name of Claimant:


                                         Signed:


                                          By (if appropriate):


                                         As Its (if appropriate):


 INSTRUCTIONS: Mail the completed form to: Clerk, United States Bankruptcy Court, Room
 1340, Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, SW, Atlanta,
 Georgia 30303, so as to be received no later than September 16, 2022. A copy of the completed
 form should also be mailed to counsel for the Trustee at: Law Offices of Henry F. Sewell, Jr., LLC,
 c/o Henry F. Sewell, Jr., Esq., Buckhead Centre, 2964 Peachtree Road NW, Suite 555, Atlanta,
 GA 30305.
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                                 CERTIFICATE OF SERVICE
        This is to certify that a true and correct copy of the Motion to Set Bar Date for Gap Claims
 and Chapter 11 Administrative Expense Claims was served: (a) via the United States Bankruptcy
 Court for the Northern District of Georgia's Electronic Case Filing System to all registered parties
 who have appeared in this Case; and (b) by United States Mail with adequate postage affixed
 thereon on the party set forth below:
        Office of the United States Trustee
        362 Richard B. Russell Federal Building
        75 Ted Turner Drive, SW
        Atlanta, Georgia 30303


        Dated: July 27, 2022.
                                       Respectfully submitted,

                                       LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                       /s/ Henry F. Sewell, Jr.
                                       Henry F. Sewell, Jr.
                                       Georgia Bar No. 636265
                                       Buckhead Centre
                                       2964 Peachtree Road NW, Suite 555
                                       Atlanta, GA 30305
                                       (404) 926-0053
                                       hsewell@sewellfirm.com

                                       COUNSEL FOR THE CHAPTER 7 TRUSTEE
